            Case 1:11-cv-00278-JD Document 26 Filed 12/23/11 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                           )
Kaitlin Hudson,                            )
                                           )
               Plaintiff,                  )
                                           )
      v.                                   )        Civil Action No. 11-CV-00278-JD
                                           )
Dr. Michael J. O’Connell’s Pain Care       )
Center, Inc. and Dr. Michael J. O’Connell, )
                                           )
               Defendants.                 )
____________________________________)

    DEFENDANTS’ OBJECTION TO PLAINTIFF’S MOTION FOR INDEPENDENT
                       MEDICAL EXAMINATION

       NOW COME the Defendants, Dr. Michael J. O’Connell’s Pain Care Center, Inc. and Dr.

Michael J. O’Connell, by and through counsel, Shaheen & Gordon, PA, objecting to Plaintiff’s

Motion for Independent Medical Examination, and, in support thereof, state as follows:

       1.      Plaintiff Kaitlin Hudson has filed a Motion for Independent Medical Examination.

       2.      For the reasons stated in the attached Memorandum of Law, the Motion for

Independent Medical Examination should be denied.

       WHEREFORE the Defendants respectfully request that this Honorable Court:

       a.      Deny the Motion for Independent Medical Examination; and

       b.      Grant such further relief as the Court deems necessary and just.

                                                     
          Case 1:11-cv-00278-JD Document 26 Filed 12/23/11 Page 2 of 2



                                                     Respectfully submitted,

                                                     Dr. Michael J. O'Connell's Pain Care Center,
                                                     Inc. and Dr. Michael J. O'Connell
                                                     By Their Attorneys:
                                                     SHAHEEN & GORDON, P.A.



Dated: December 23, 2011                             /s/ William E. Christie
                                                     William E. Christie
                                                     NH Bar #11255
                                                     107 Storrs Street
                                                     P.O. Box 2703
                                                     Concord, NH 03302-2703
                                                     (603) 225-7262
                                                     wchristie@shaheengordon.com

                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on December 23,
2011.


DATED: December 23, 2011                             /s/ William E. Christie
                                                     William E. Christie
                                                     Bar No. 11255
                                                     Shaheen & Gordon, P.A.
                                                     107 Storrs Street, P.O. Box 2703
                                                     Concord, NH 03302
                                                     (603) 225-7262
                                                     wchristie@shaheengordon.com

 
 
 
